    Case 4:23-cr-00061-Y Document 42 Filed 05/04/23                Page 1 of 1 PageID 80


                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

UNITED STATES OF AMERICA                             §
                                                     §
VS.                                                  §    ACTION NO. 4:23-CR-061-Y
                                                     §
MARK ANTHONY KIRKLAND (2)                            §

               ORDER GRANTING UNOPPOSED MOTION FOR CONTINUANCE

        Pending before the Court is Defendant's Unopposed Motion to

Continue (doc. 33). After review of the motion, the Court concludes,

under 18 U.S.C. § 3161(h)(7)(B)(iv), that a failure to grant the

requested continuance would deny counsel for the defendant the

reasonable time necessary for effective preparation, taking into

account the exercise of due diligence. As a result, the Court further

concludes, under 18 U.S.C. § 3161(h)(7)(A), that the ends of justice

served by granting the requested continuance outweigh the best

interests of the public and the defendant in a speedy trial.

        Therefore, Defendant's Unopposed Motion to Continue is GRANTED.

The trial of this cause is CONTINUED until 10:00 a.m. on Monday, June

20, 2023.        The pretrial conference is CONTINUED until 3:00 p.m. on

Thursday, June 15. The scheduling order previously issued in this

cause is hereby MODIFIED as follows:

        (1)     the deadline for filing witness and exhibit lists is
                EXTENDED until June 13; and

        (2)     the deadline for exchanging exhibit notebooks is EXTENDED
                until June 15.

        SIGNED May 4, 2023.

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                                                          TERRY R. MEANS
                                                          UNITED STATES DISTRICT JUDGE

ORDER GRANTING UNOPPOSED MOTION TO CONTINUE - Page Solo
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